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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

  RYAN P. HANSON, M.D.,                          :    Case No. 2:20-CV-4005
                                                 :
                 Plaintiff,                      :    JUDGE GRAHAM
                                                 :
          vs.                                    :    MAGISTRATE JUDGE VASCURA
                                                 :
  THE OHIO STATE UNIVERSITY,                     :
  STUDENT HEALTH SERVICES,                       :
                                                 :
                 Defendant.                      :


                    STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff Ryan P.

Hanson, M.D. and Defendant The Ohio State University Student health Services, through their

respective counsel, hereby stipulate to dismiss the above-captioned case with prejudice. Each

party shall bear their own attorney fees and costs.


Agreed:


KEMP, SCHAEFFER & ROWE                                DAVE YOST (0056290)
CO., L.P.A.                                           ATTORNEY GENERAL OF OHIO

By: /s/ Erica Ann Probst                              By:   /s/ Drew C. Piersall
      Erica Ann Probst #0073486                             Drew C. Piersall #0078085
      Attorney for Plaintiff                                Scott H. DeHart #0095463
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                                  CERTIFICATE OF SERVICE

        A copy of the foregoing was served electronically via the Court’s electronic filing system

this 1st day of July, 2021. Notice of this filing will be sent to all parties by operation of the court’s

electronic filing system.




                                                By: /s/ Erica Ann Probst________
                                                     Erica A. Probst (0073486)




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